    Case 17-17506-MBK              Doc 85 Filed 04/21/22 Entered 04/21/22 10:09:07                   Desc Resp.
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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 17−17506−MBK
                                         Chapter: 13
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Steven M Sheerer, Sr.                                    Michele M Sheerer
   108 Village Drive                                        108 Village Drive
   Barnegat, NJ 08005                                       Barnegat, NJ 08005
Social Security No.:
   xxx−xx−0670                                              xxx−xx−4836
Employer's Tax I.D. No.:


                                    NOTICE OF RECEIPT OF RESPONSE TO
                                     NOTICE OF FINAL CURE PAYMENT

     TO: Steven M Sheerer, Sr. and Michele M Sheerer
          Debtor(s)

     You are hereby notified that a Response to Notice of Final Cure Payment has been filed. Under
Fed. R. Bankr. P. 3002.1(h), if you disagree with the creditor's response, a motion must be filed to determine whether
the debtor has cured the default and paid post−petition amounts.




Dated: April 21, 2022
JAN: wdr

                                                          Jeanne Naughton, Clerk
